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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                       *
                                               *    CRIMINAL NO. 17-201-1 (ABJ)(S-5)
                                               *
       v.                                      *    Violations: 18 U.S.C. § 371
                                               *
PAUL J. MANAFORT, JR.,                         *
                                               *
              Defendant.                       *
                                               *
                                            *******


                       SUPERSEDING CRIMINAL INFORMATION

The Special Counsel informs the Court:

1.    PAUL J. MANAFORT, JR. (MANAFORT) served for years as a political consultant and

lobbyist. Between at least 2006 and 2015, MANAFORT conspired with Richard W. Gates (Gates),

Konstantin Kilimnik (Kilimnik), and others to act, and acted, as unregistered agents of a foreign

government and political party. Specifically, MANAFORT conspired to act and acted as an agent

of the Government of Ukraine, the Party of Regions (a Ukrainian political party whose leader

Victor Yanukovych was President from 2010 to 2014), President Yanukovych, and the Opposition

Bloc (a successor to the Party of Regions that formed in 2014 when Yanukovych fled to Russia).

MANAFORT generated more than 60 million dollars in income as a result of his Ukraine work.

In order to hide Ukraine payments from United States authorities, from approximately 2006

through at least 2016, MANAFORT, with the assistance of Gates and Kilimnik, laundered the

money through scores of United States and foreign corporations, partnerships, and bank accounts.

2.    In furtherance of the scheme, MANAFORT funneled millions of dollars in payments into
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foreign nominee companies and bank accounts, opened by him and his underlings in nominee

names and in various foreign countries, including Cyprus, Saint Vincent & the Grenadines

(Grenadines), and the United Kingdom. MANAFORT hid the existence of the foreign companies

and bank accounts, falsely and repeatedly reporting to his tax preparers and to the United States

that he had no foreign bank accounts.

3.    In furtherance of the scheme, MANAFORT concealed from the United States his work as

an agent of, and millions of dollars in payments from, Ukraine and its political parties and leaders.

Because MANAFORT directed a campaign to lobby United States officials and the United States

media on behalf of the Government of Ukraine, the President of Ukraine, and Ukrainian political

parties, he was required by law to report to the United States his work and fees. MANAFORT did

not do so, either for himself or any of his companies. Instead, when the Department of Justice sent

inquiries to MANAFORT in 2016 about his activities, MANAFORT responded with a series of

false and misleading statements.

4.    In furtherance of the scheme, MANAFORT used his hidden overseas wealth to enjoy a

lavish lifestyle in the United States, without paying taxes on that income. MANAFORT, without

reporting the income to his bookkeeper or tax preparers or to the United States, spent millions of

dollars on luxury goods and services for himself and his extended family through payments wired

from offshore nominee accounts to United States vendors. MANAFORT also used these offshore

accounts to purchase multi-million dollar properties in the United States. Manafort then borrowed

millions of dollars in loans using these properties as collateral, thereby obtaining cash in the United

States without reporting and paying taxes on the income. In order to increase the amount of money

he could access in the United States, Manafort defrauded the institutions that loaned money on

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these properties so that they would lend him more money at more favorable rates than he would

otherwise be able to obtain.

5.    Manafort laundered more than $30 million to buy property, goods, and services in the

United States, income that he concealed from the United States Treasury, the Department of

Justice, and others. MANAFORT cheated the United States out of over $15 million in taxes.

                                Relevant Individuals And Entities

6.    MANAFORT was a United States citizen. He resided in homes in Virginia, Florida, and

Long Island, New York.

7.    In 2005, MANAFORT and another partner created Davis Manafort Partners, Inc. (DMP) to

engage principally in political consulting. DMP had staff in the United States, Ukraine, and

Russia. In 2011, MANAFORT created DMP International, LLC (DMI) to engage in work for

foreign clients, in particular political consulting, lobbying, and public relations for the Government

of Ukraine, the Party of Regions, and members of the Party of Regions. DMI was a partnership

solely owned by MANAFORT and his spouse. Gates and Kilimnik worked for both DMP and

DMI and served as close confidants of MANAFORT.

8.    The Party of Regions was a pro-Russia political party in Ukraine.                Beginning in

approximately 2006, it retained MANAFORT, through DMP and then DMI, to advance its

interests in Ukraine, including the election of its slate of candidates. In 2010, its candidate for

President, Yanukovych, was elected President of Ukraine. In 2014, Yanukovych fled Ukraine for

Russia in the wake of popular protests of widespread governmental corruption. Yanukovych, the

Party of Regions, and the Government of Ukraine were Manafort, DMP, and DMI clients.

9.    The European Centre for a Modern Ukraine (the Centre) was created in or about 2012 in

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MANAFORT’s Hiding Of Ukraine Lobbying And Public Relations Work

17.   MANAFORT knew it was illegal to lobby government officials and engage in public

relations activities (hereinafter collectively referred to as lobbying) in the United States on behalf

of a foreign government or political party, without registering with the United States Government

under the Foreign Agents Registration Act. MANAFORT knew he was lobbying in the United

States for the Government of Ukraine, President Viktor F. Yanukovych, the Party of Regions, and

the Opposition Bloc (the latter two being political parties in Ukraine), and thus he was supposed

to submit a written registration statement to the United States Department of Justice.

MANAFORT knew that the filing was required to disclose the name of the foreign country, all the

financial payments to the lobbyist, and the specific steps undertaken for the foreign country in the

United States, among other information.

18.   MANAFORT knew that Ukraine had a strong interest in the United States’ taking economic

and policy positions favorable to Ukraine, including not imposing sanctions on Ukraine.

MANAFORT also knew that the trial and treatment of President Yanukovych’s political rival,

former Prime Minister Yulia Tymoshenko, was strongly condemned by leading United States

executive and legislative branch officials, and was a major hurdle to improving United States and

Ukraine relations.

19.   From 2006 until 2015, MANAFORT led a multi-million dollar lobbying campaign in the

United States at the direction of the Government of Ukraine, President Yanukovych, the Party of

Regions, and the Opposition Bloc. MANAFORT intentionally did so without registering and

providing the disclosures required by law.

20.   As part of the lobbying scheme, MANAFORT hired numerous firms and people to assist in

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his lobbying campaign in the United States. He hired Companies A, B, C, D, and E, and Law Firm

A, among others, to participate in what he described to President Yanukovych in writing as a global

“Engage Ukraine” lobbying campaign that he devised and led. These companies and law firm

were paid the equivalent of over $11 million for their Ukraine work.

21.   MANAFORT viewed secrecy for himself and for the actions of his lobbyists as integral to

the effectiveness of the lobbying offensive he orchestrated for Ukraine. Filing under the Foreign

Agents Registration Act would have thwarted the secrecy MANAFORT sought in order to conduct

an effective campaign for Ukraine to influence both American leaders and the American public.

22.   MANAFORT took steps to avoid any of these firms and people disclosing their lobbying

efforts under the Foreign Agents Registration Act. As one example, even though MANAFORT

engaged Company E in 2007 to lobby in the United States for the Government of Ukraine,

MANAFORT tried to dissuade Company E from filing under the Foreign Agents Registration Act.

Only after MANAFORT ceased to use Company E in the fall of 2007 did Company E disclose its

work for Ukraine, in a belated filing under the Act in 2008.

23.   MANAFORT took other measures to keep the Ukraine lobbying as secret as possible. For

example, MANAFORT, in written communications on or about May 16, 2013, directed his

lobbyists (including Persons D1 and D2, who worked for Company D) to write and disseminate

within the United States news stories that alleged that Tymoshenko had paid for the murder of a

Ukrainian official. MANAFORT stated that it should be “push[ed]” “[w]ith no fingerprints.” “It

is very important we have no connection.” MANAFORT stated that “[m]y goal is to plant some

stink on Tymo.” Person D1 objected to the plan, but ultimately Persons D1 and D2 complied with

MANAFORT’s direction. The Foreign Agents Registration Act required MANAFORT to disclose

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such lobbying, as MANAFORT knew. He did not.

The Hapsburg Group and Company D

24.    As part of the lobbying scheme, starting in 2011, MANAFORT secretly retained Company

D and a group of four former European heads of state and senior officials (including a former

Austrian Chancellor, Italian Prime Minister, and Polish President) to lobby in the United States

and Europe on behalf of Ukraine. The former politicians, called the Hapsburg Group by

MANAFORT, appeared to be providing solely their independent assessments of Government of

Ukraine policies, when in fact they were paid by Ukraine. MANAFORT explained in an “EYES

ONLY” memorandum in or about June 2012 that his purpose was to “assemble a small group of

high-level European infuencial [sic] champions and politically credible friends who can act

informally and without any visible relationship with the Government of Ukraine.”

25.    Through MANAFORT, the Government of Ukraine retained an additional group of

lobbyists (Company D and Persons D1 and D2). In addition to lobbying itself, Company D secretly

served as intermediaries between the Hapsburg Group and MANAFORT and the Government of

Ukraine. In or about 2012 through 2013, MANAFORT directed more than the equivalent of

700,000 euros to be wired from at least three of his offshore accounts to the benefit of Company

D to pay secretly for its services.

26.    All four Hapsburg Group members, at the direction, and with the direct assistance, of

MANAFORT, advocated positions favorable to Ukraine in meetings with United States

lawmakers, interviews with United States journalists, and ghost written op-eds in American

publications. In or about 2012 through 2014, MANAFORT directed more than 2 million euros to

be wired from at least four of his offshore accounts to pay secretly the Hapsburg Group. To avoid

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European taxation, the contract with the Hapsburg Group falsely stated that none of its work would

take place in Europe.

27.   One of the Hapsburg Group members, a former Polish President, was also a representative

of the European Parliament with oversight responsibility for Ukraine. MANAFORT solicited that

official to provide MANAFORT inside information about the European Parliament’s views and

actions toward Ukraine and to take actions favorable to Ukraine. MANAFORT also used this

Hapsburg Group member’s current European Parliament position to Ukraine’s advantage in his

lobbying efforts in the United States. In the fall of 2012, the United States Senate was considering

and ultimately passed a resolution critical of President Yanukovych’s treatment of former Prime

Minister Tymoshenko. MANAFORT engaged in an all-out campaign to try to kill or delay the

passage of this resolution. Among the steps he took was having the Hapsburg Group members

reach out to United States Senators, as well as directing Companies A and B to have private

conversations with Senators to lobby them to place a “hold” on the resolution. MANAFORT told

his lobbyists to stress to the Senators that the former Polish President who was advocating against

the resolution was currently a designated representative of the President of the European

Parliament, to give extra clout to his supposedly independent judgment against the Senate

resolution. MANAFORT never revealed to the Senators or to the American public that any of

these lobbyists or Hapsburg Group members were paid by Ukraine.

28.   In another example, on May 16, 2013, another member of the Hapsburg Group lobbied in

the United States for Ukraine. The Hapsburg Group member accompanied his country’s prime

minister to the Oval Office and met with the President and Vice President of the United States, as

well as senior United States officials in the executive and legislative branches. In written

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communications sent to MANAFORT, Person D1 reported that the Hapsburg Group member

delivered the message of not letting “Russians Steal Ukraine from the West.” The Foreign Agents

Registration Act required MANAFORT to disclose such lobbying, as MANAFORT knew. He did

not.

Law Firm Report and Tymoshenko

29.    As another part of the lobbying scheme, in 2012, on behalf of President Yanukovych and

the Government of Ukraine’s Ministry of Justice, MANAFORT solicited a United States law firm

to write a report evaluating the trial of Yanukovych’s political opponent Yulia Tymoshenko.

MANAFORT caused Ukraine to hire the law firm so that its report could be used in the United

States and elsewhere to defend the Tymoshenko criminal trial and argue that President

Yanukovych and Ukraine had not engaged in selective prosecution.

30.    MANAFORT retained a public relations firm (Company C) to prepare a media roll-out plan

for the law firm report. MANAFORT used one of his offshore accounts to pay Company C the

equivalent of more than $1 million for its services.

31.    MANAFORT worked closely with Company C to develop a detailed written lobbying plan

in connection with what MANAFORT termed the “selling” of the report. This campaign included

getting the law firm’s report “seeded” to the press in the United States—that is, to leak the report

ahead of its official release to a prominent United States newspaper and then use that initial article

to influence reporting globally. As part of the roll-out plan, on the report’s issuance on December

13, 2012, MANAFORT arranged to have the law firm disseminate hard copies of the report to

numerous government officials, including senior United States executive and legislative branch

officials.

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32.   MANAFORT reported on the law firm’s work on the report and Company C’s lobbying

plan to President Yanukovych and other representatives of the Government of Ukraine. For

example, in a July 27, 2012 memorandum to President Yanukovych’s Chief of Staff, MANAFORT

reported on “the global rollout strategy for the [law firm’s] legal report, and provide[d] a detailed

plan of action[]” which included step-by-step lobbying outreach in the United States.

33.   MANAFORT directed lobbyists to tout the report as showing that President Yanukovych

had not selectively prosecuted Tymoshenko. But in November 2012 MANAFORT had been told

privately in writing by the law firm that the evidence of Tymoshenko’s criminal intent “is virtually

non-existent” and that it was unclear even among legal experts that Tymoshenko lacked power to

engage in the conduct central to the Ukraine criminal case. These facts, known by MANAFORT,

were not disclosed to the public.

34.   Manafort knew that the report also did not disclose that the law firm, in addition to being

retained to write the report, was retained to represent Ukraine itself, including in connection with

the Tymoshenko case and to provide training to the trial team prosecuting Tymoshenko.

35.   MANAFORT also knew that the Government of Ukraine did not want to disclose how much

the report cost. More than $4.6 million was paid to the law firm for its work. MANAFORT used

one of his offshore accounts to funnel $4 million to pay the law firm, a fact that MANAFORT did

not disclose to the public. Instead, the Government of Ukraine reported falsely that the report cost

just $12,000.

36.   MANAFORT and others knew that the actual cost of the report and the scope of the law

firm’s work would undermine the report’s being perceived as an independent assessment and thus

being an effective lobbying tool for MANAFORT to use to support the incarceration of President

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Yanukovych’s political opponent.

37.   In addition to the law firm report, MANAFORT took other steps on behalf of the

Government of Ukraine to tarnish Tymoshenko in the United States. In addition to disseminating

stories about her soliciting murder, noted above, in October 2012, MANAFORT orchestrated a

scheme to have, as he wrote in a contemporaneous communication, “[O]bama jews” put pressure

on the Administration to disavow Tymoshenko and support Yanukovych. MANAFORT sought

to undermine United States support for Tymoshenko by spreading stories in the United States that

a senior Cabinet official (who had been a prominent critic of Yanukovych’s treatment of

Tymoshenko) was supporting anti-Semitism because the official supported Tymoshenko, who in

turn had formed a political alliance with a Ukraine party that espoused anti-Semitic

views. MANAFORT coordinated privately with a senior Israeli government official to issue a

written statement publicizing this story. MANAFORT then, with secret advance knowledge of

that Israeli statement, worked to disseminate this story in the United States, writing to Person D1

“I have someone pushing it on the NY Post. Bada bing bada boom.” MANAFORT sought to have

the Administration understand that “the Jewish community will take this out on Obama on election

day if he does nothing.” MANAFORT then told his United States lobbyist to inform the

Administration that Ukraine had worked to prevent the Administration’s presidential opponent

from including damaging language in the Israeli statement, so as not to harm the Administration,

and thus further ingratiate Yanukovych with the Administration.

Company A and Company B

38.   As a third part of the lobbying scheme, in February 2012, MANAFORT solicited two

Washington, D.C. lobbying firms (Company A and Company B) to lobby in the United States on

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behalf of President Yanukovych, the Party of Regions and the Government of Ukraine. For

instance, in early 2012 at the inception of the relationship, Company B wrote in an email to its

team about a “potential representation for the Ukraine,” having been contacted “at the suggestion

of Paul Manafort who has been working on the current PM elections.”

39.   MANAFORT arranged to pay Companies A and B over $2 million from his offshore

accounts for their United States lobbying work for Ukraine.

40.   MANAFORT provided direction to Companies A and B in their lobbying efforts, including

providing support for numerous United States visits by numerous senior Ukrainian officials.

Companies A and B, at MANAFORT’s direction, engaged in extensive United States lobbying.

Among other things, they lobbied dozens of Members of Congress, their staff, and White House

and State Department officials about Ukraine sanctions, the validity of Ukraine elections, and the

propriety of President Yanukovych’s imprisoning Tymoshenko, his presidential rival.

41.   In addition, with the assistance of Company A, MANAFORT also personally lobbied in the

United States. He drafted and edited numerous ghost-written op-eds for publication in United

States newspapers. He also personally met in March 2013 in Washington, D.C., with a Member

of Congress who was on a subcommittee that had Ukraine within its purview. After the meeting,

MANAFORT prepared a report for President Yanukovych that the meeting “went well” and

reported a series of positive developments for Ukraine from the meeting.

42.   Indeed, MANAFORT repeatedly communicated in person and in writing with President

Yanukovych and his staff about the lobbying activities of Companies A and B and he tasked the

companies to prepare assessments of their work so he, in turn, could brief President Yanukovych.

For instance, MANAFORT wrote President Yanukovych a memorandum dated April 8, 2012, in

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which he provided an update on the lobbying firms’ activities “since the inception of the project a

few weeks ago. It is my intention to provide you with a weekly update moving forward.” In

November 2012, Gates wrote to Companies A and B that the firms needed to prepare an assessment

of their past and prospective lobbying efforts so the “President” could be briefed by “Paul” “on

what Ukraine has done well and what it can do better as we move into 2013.” The resulting

memorandum from Companies A and B, with input from Gates, noted among other things that the

“client” had not been as successful as hoped given that it had an Embassy in Washington.

43.   To distance their United States lobbying work from the Government of Ukraine, and to

avoid having to register as agents of Ukraine under the Foreign Agents Registration Act,

MANAFORT with others arranged for Companies A and B to be engaged by a newly-formed

Brussels entity called the European Centre for the Modern Ukraine (the Centre), instead of directly

by the Government of Ukraine.

44.   MANAFORT described the Centre as “the Brussels NGO that we have formed” to

coordinate lobbying for Ukraine. The Centre was founded by a Ukraine Party of Regions member

and Ukraine First Vice-Prime Minister. The head of its Board was another member of the Party

of Regions, who became the Ukraine Foreign Minister.

45.   In spite of these ties to Ukraine, MANAFORT and others arranged for the Centre to

represent falsely that it was not “directly or indirectly supervised, directed, [or] controlled” in

whole or in major part by the Government of Ukraine or the Party of Regions. MANAFORT knew

that the false and misleading representations would lead Companies A and B not to register their

activities pursuant to the Foreign Agents Registration Act.

46.   Despite the Centre being the ostensible client of Companies A and B, MANAFORT knew

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that the Centre did not direct or oversee their work.            The firms received direction from

MANAFORT and his subordinate Gates, on behalf of the Government of Ukraine.

47.    Various employees of Companies A and B understood that they were receiving direction

from MANAFORT and President Yanukovych, not the Centre, which was not even operational

when Companies A and B began lobbying for Ukraine. MANAFORT, Gates, and employees of

both Companies A and B referred to the client in ways that made clear they knew it was Ukraine,

for instance noting that the “client” had an Embassy in Washington D.C. The head of Company

B told his team to think the President of Ukraine “is the client.” As a Company A employee noted

to another company employee: the lobbying for the Centre was “in name only. [Y]ou’ve gotta see

through the nonsense of that[.]” “It’s like Alice in Wonderland.” An employee of Company B

described the Centre as a fig leaf, and the Centre’s written certification that it was not related to

the Party of Regions as “a fig leaf on a fig leaf,” referring to the Centre in an email as the “European

hot dog stand for a Modern Ukraine.”

Conspiring to Obstruct Justice: False and Misleading Submissions to the Department of Justice

48.    In September 2016, after numerous press reports concerning MANAFORT had appeared in

August, the Department of Justice National Security Division informed MANAFORT, Gates, and

DMI in writing that it sought to determine whether they had acted as agents of a foreign principal

under the Foreign Agents Registration Act, without registering. In November 2016 and February

2017, MANAFORT and Gates conspired to knowingly and intentionally cause false and

misleading letters to be submitted to the Department of Justice, through his unwitting legal

counsel. The letters, both of which were approved by MANAFORT before they were submitted

by his counsel, represented falsely, among other things, that:

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       a.      DMI’s “efforts on behalf of the Party of Regions” “did not include meetings or

       outreach within the U.S.”;

       b.      MANAFORT did not “recall meeting with or conducting outreach to U.S.

       government officials or U.S. media outlets on behalf of the [Centre], nor do they recall

       being party to, arranging, or facilitating any such communications. Rather, it is the

       recollection and understanding of Messrs. Gates and Manafort that such communications

       would have been facilitated and conducted by the [Centre’s] U.S. consultants, as directed

       by the [Centre]. . . .”;

       c.      MANAFORT had merely served as a means of introduction of Company A and

       Company B to the Centre and provided the Centre with a list of “potential U.S.-based

       consultants—including [Company A] and [Company B]—for the [Centre’s] reference and

       further consideration”; and

       d.      DMI “does not retain communications beyond thirty days” and as a result of this

       policy, a “search has returned no responsive documents.” The November 2016 letter

       attached a one-page, undated document that purported to be a DMI “Email Retention

       Policy.”

49.   In fact, MANAFORT had: selected Companies A and B; engaged in weekly scheduled calls

and frequent emails with Companies A and B to provide them directions as to specific lobbying

steps that should be taken; sought and received detailed oral and written reports from these firms

on the lobbying work they had performed; communicated with Yanukovych to brief him on their

lobbying efforts; both congratulated and reprimanded Companies A and B on their lobbying work;

communicated directly with United States officials in connection with this work; and paid the

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lobbying firms over $2.5 million from offshore accounts he controlled, among other things.

50.   Although MANAFORT had represented to the Department of Justice in November 2016

and February 2017 that he had no relevant documents, in fact MANAFORT had numerous

incriminating documents in his possession, as he knew at the time. The Federal Bureau of

Investigation conducted a court-authorized search of MANAFORT’S home in Virginia in the

summer of 2017. The documents attached hereto as Government Exhibits 503, 504, 517, 532, 594,

604, 606, 616, 691, 692, 697, 706 and 708, among numerous others, were all documents that

MANAFORT had in his possession, custody or control (and were found in the search) and all pre-

dated the November 2016 letter.

Money Laundering Conspiracy

51.   In or around and between 2006 and 2016, MANAFORT, together with others,                   did

knowingly and intentionally conspire (a) to conduct financial transactions, affecting interstate and

foreign commerce, which involved the proceeds of specified unlawful activity, to wit, felony

violations of FARA in violation of Title 22, United States Code, Sections 612 and 618, knowing

that the property involved in the financial transactions represented proceeds of some form of

unlawful activity, with intent to engage in conduct constituting a violation of sections 7201 and

7206 of the Internal Revenue Code of 1986; and (b) to transport, transmit, and transfer monetary

instruments and funds from places outside the United States to and through places in the United

States and from places in the United States to and through places outside the United States, with

the intent to promote the carrying on of specified unlawful activity, to wit: a felony violation of

FARA, in violation of Title 22, United States Code, Sections 612 and 618, contrary to Title 18,

United States Code, Section 1956(a)(1)(A)(ii) and (a)(2)(A).

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obligations to the United States.

54.    First, the Bank Secrecy Act and its implementing regulations require United States citizens

to report to the United States Treasury any financial interest in, or signatory authority over, any

bank account or other financial account held in foreign countries, for every calendar year in which

the aggregate balance of all such foreign accounts exceeds $10,000 at any point during the year.

This is commonly known as a foreign bank account report or “FBAR.” The Bank Secrecy Act

requires these reports because they have a high degree of usefulness in criminal, tax, or regulatory

investigations or proceedings. The United States Treasury’s Financial Crimes Enforcement

Network (FinCEN) is the custodian for FBAR filings, and FinCEN provides access to its FBAR

database to law enforcement entities, including the Federal Bureau of Investigation. The reports

filed by individuals and businesses are used by law enforcement to identify, detect, and deter

money laundering that furthers criminal enterprise activity, tax evasion, and other unlawful

activities.

55.    Second, United States citizens also are obligated to report information to the IRS regarding

foreign bank accounts. For instance, in 2010 Form 1040, Schedule B had a “Yes” or “No” box to

record an answer to the question: “At any time during [the calendar year], did you have an interest

in or a signature or other authority over a financial account in a foreign country, such as a bank

account, securities account, or other financial account?” If the answer was “Yes,” then the form

required the taxpayer to enter the name of the foreign country in which the financial account was

located.

56.    For each year in or about and between 2007 through at least 2014, MANAFORT had

authority over foreign accounts that required an FBAR report. Specifically, MANAFORT was

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required to report to the United States Treasury each foreign bank account held by the foreign

MANAFORT entities noted above in paragraph 10.              No FBAR reports were made by

MANAFORT for these accounts.

57.   Furthermore, in each of MANAFORT’s tax filings for 2007 through 2014, Manafort

represented falsely that he did not have authority over any foreign bank accounts. MANAFORT

had repeatedly and falsely represented in writing to MANAFORT’s tax preparer that

MANAFORT had no authority over foreign bank accounts, knowing that such false

representations would result in false MANAFORT tax filings. For instance, on October 4, 2011,

MANAFORT’s tax preparer asked MANAFORT in writing: “At any time during 2010, did you

[or your wife or children] have an interest in or a signature or other authority over a financial

account in a foreign country, such as a bank account, securities account or other financial

account?” On the same day, MANAFORT falsely responded “NO.” MANAFORT responded the

same way as recently as October 3, 2016, when MANAFORT’s tax preparer again emailed the

question in connection with the preparation of MANAFORT’s tax returns: “Foreign bank accounts

etc.?” MANAFORT responded on or about the same day: “NONE.”

MANAFORT’s Fraud To Increase Access To Offshore Money

58.   After MANAFORT used his offshore accounts to purchase real estate in the United States,

he took out mortgages on the properties thereby allowing MANAFORT to have the benefits of

liquid income without paying taxes on it. Further, MANAFORT defrauded the banks that loaned

him the money so that he could withdraw more money at a cheaper rate than he otherwise would

have been permitted.

59.    In 2012, MANAFORT, through a corporate vehicle called “MC Soho Holdings, LLC”

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owned by him and his family, bought a condominium on Howard Street in the Soho neighborhood

in Manhattan, New York. He paid approximately $2,850,000. All the money used to purchase

the condominium came from MANAFORT entities in Cyprus. MANAFORT used the property

from at least January 2015 through 2016 as an income-generating rental property, charging

thousands of dollars a week on Airbnb, among other places. In his tax returns, MANAFORT took

advantage of the beneficial tax consequences of owning this rental property.

60.   Also in 2012, MANAFORT -- through a corporate vehicle called “MC Brooklyn Holdings,

LLC” similarly owned by him and his family -- bought a brownstone on Union Street in the Carroll

Gardens section of Brooklyn, New York. He paid approximately $3,000,000 in cash for the

property. All of that money came from a MANAFORT entity in Cyprus.

                                         COUNT ONE

                            Conspiracy Against The United States

61.   Paragraphs 1 through 60 are incorporated here.

62.   From in or about and between 2006 and 2017, both dates being approximate and inclusive,

in the District of Columbia and elsewhere, the defendant PAUL J. MANAFORT, JR., together

with others, including Gates and Kilimnik, knowingly and intentionally conspired to defraud the

United States by impeding, impairing, obstructing, and defeating the lawful governmental

functions of a government agency, namely the Department of Justice and the Department of the

Treasury, and to commit offenses against the United States, to wit, (a) money laundering (in

violation of 18 U.S.C. § 1956); (b) tax fraud (in violation of 26 U.S.C. § 7206(1)); (c) failing to

file Foreign Bank Account Reports (in violation of 31 U.S.C. §§ 5312 and 5322(b)); (d) violating

the Foreign Agents Registration Act (in violation of 22 U.S.C. §§ 612, 618(a)(1), and 618(a)(2));

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and (e) lying and misrepresenting to the Department of Justice (in violation of 18 U.S.C. § 1001(a)

and 22 U.S.C. §§ 612 and 618(a)(2)).

63.   In furtherance of the conspiracy and to effect its illegal object, MANAFORT, together with

others, committed the overt acts, in the District of Columbia and elsewhere, as set forth in the

paragraphs above, which are incorporated herein.

                               (18 U.S.C. §§ 371 and 3551 et seq.)



                                         COUNT TWO

                    Conspiracy to Obstruct Justice (Witness Tampering)

64.   Paragraphs 1 through 60 are incorporated here.

65.   From in or about and between February 23, 2018 and April 2018, both dates being

approximate and inclusive, within the District of Columbia and elsewhere, the defendant PAUL J.

MANAFORT, JR., together with others, including Konstantin Kilimnik, knowingly and

intentionally conspired to corruptly persuade another person, to wit: Persons D1 and D2, with

intent to influence, delay and prevent the testimony of any person in an official proceeding, in

violation of 18 U.S.C. § 1512(b)(1).

66.   On February 22, 2018, MANAFORT was charged in the District of Columbia in a

Superseding Indictment that for the first time included allegations about the Hapsburg Group and

MANAFORT’s use of that group to lobby illegally in the United States in violation of the Foreign

Agent Registration Act. MANAFORT knew that the Act prescribed only United States lobbying.

Immediately after February 22, 2018, MANAFORT began reaching out directly and indirectly to

Persons D1 and D2 to induce them to say falsely that they did not work in the United States as part

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                                   (18 U.S.C. §§ 371 and 3551 et seq.)

                                   FORFEITURE ALLEGATIONS

68.    Upon conviction of the offense charged in Count One, the defendant PAUL J.

MANAFORT, JR., shall forfeit to the United States any property, real or personal, involved in

such offense, and any property traceable to such property, and any property, real or personal, which

constitutes or is derived from proceeds traceable to the offense, pursuant to Title 18, United States

Code, Sections 981(a)(1)(A), 981(a)(1)(C), and 982(a)(1), and Title 28, United States Code,

Section 2461(c). The United States will also seek a judgment against the defendant for a sum of

money representing the property described in this paragraph (to be offset by the forfeiture of any

specific property).

69.    The property subject to forfeiture by PAUL J. MANAFORT, JR., includes, but is not limited

to, the following listed assets:

        a.      The real property and premises commonly known as 377 Union Street, Brooklyn,

        New York 11231 (Block 429, Lot 65), including all appurtenances, improvements, and

        attachments thereon, and any property traceable thereto;

        b.      The real property and premises commonly known as 29 Howard Street, #4D, New

        York, New York 10013 (Block 209, Lot 1104), including all appurtenances, improvements,

        and attachments thereon, and any property traceable thereto;

        c.      The real property and premises commonly known as 174 Jobs Lane, Water Mill,

        New York 11976, including all appurtenances, improvements, and attachments thereon,

        and any property traceable thereto;

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       d.     All funds held in account number XXXXXX0969 at The Federal Savings Bank,

       and any property traceable thereto;

       e.     All funds seized from account number XXXXXX1388 at Capital One N.A., and

       any property traceable thereto; and

       f.     All funds seized from account number XXXXXX9952 at The Federal Savings

       Bank, and any property traceable thereto;

       g.     Northwestern Mutual Universal Life Insurance Policy 18268327, and any property

       traceable thereto;

       h.     All funds held in account number XXXX7988 at Charles A. Schwab & Co. Inc.,

       and any property traceable thereto; and

       i.     The real property and premises commonly known as 1046 N. Edgewood Street,

       Arlington, Virginia 22201, including all appurtenances, improvements, and attachments

       thereon, and any property traceable thereto.

                                             Substitute Assets

70.   If any of the property described above as being subject to forfeiture, as a result of any act or

omission of the defendant

              a.      cannot be located upon the exercise of due diligence;

              b.      has been transferred or sold to, or deposited with, a third party;

              c.      has been placed beyond the jurisdiction of the court;

              d.      has been substantially diminished in value; or

              e.      has been commingled with other property that cannot be subdivided without

                      difficulty;

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it is the intent of the United States of America, pursuant to Title 18, United States Code, Section

982(b) and Title 28, United States Code, Section 2461 ( c), incorporating Title 21 , United States

Code, Section 853, to seek forfeiture of any other property of said defendant.




                                             By:     Rs~£~-
                                                     Special Counsel
                                                     Department of Justice




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